        Case 16-31136                   Doc
 Fill in this information to identify the case:
                                                  Filed 05/19/20         Entered 05/19/20 17:53:03                 Page 1 of 3

 Debtor 1              Beverly Ann Booze
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                          District of Connecticut
 United States Bankruptcy Court for the: ___________________________BBBBBBB_____

 Case number             16-31136-AMN
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                                                                                             Court claim no. (if known):
 Name of creditor:                 U.S. Bank Trust N.A. as Trustee
                                  ______________________________________
                                                                                                             5
                                                                                                             _________________
                                                                                      4 ____
                                                                                     ____ 9 ____
                                                                                             5 ____
                                                                                                 3
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                c/o BSI Financial Services
                                  ________________________________________________
                                  Number     Street

                                  1425 Greenway Drive, Suite 400
                                  _______________________________________________

                                  Irving, TX 75038
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  ✔     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  
  ✔     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:             6/1/2020
                                                                                _________________
                                                                                  MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        D Total postpetition ongoing payments due:                                                                         (a)   $ __________
        E Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        F Total. Add lines a and b.                                                                                        (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             _________________
        due on:                                                                   MM / DD / YYYY


Form 4100R                                                Response to Notice of Final Cure Payment                                     page 1
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Debtor 1         Beverly Ann Booze
                _______________________________________________________                                              16-31136-AMN
                                                                                             Case number (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  ✔      I am the creditor’s aWWRUQH\RUDuthorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               8 Stephanie E. Babin
                   __________________________________________________
                   Signature
                                                                                             Date    5/19/2020
                                                                                                     ____B_____________




 Print              Stephanie E. Babin, Esq.
                   _________________________________________________________                 Title       $WWRUQH\
                                                                                                     ___________________
                   First Name                      Middle Name        Last Name




 Company             'HPHUOH+RHJHU//3
                    _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address             &LW\6TXDUHWK)ORRU
                    _________________________________________________________
                    Number                    Street
                     %RVWRQ                                0$        
                    _________________________________________________________
                    &LW\                                               State      ZIP Code




 Contact phone        
                   ____   
                       __BBBBBBB___
                                  _________                                                         Bankruptcy@DHNewEngland.com
                                                                                             Email ____BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB_




Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 NEW HAVEN DIVISION

 In re:

 BEVERLY ANN BOOZE,                             Chapter 13
                                                Case No. 16-31136-AMN
           Debtor.

                                CERTIFICATE OF SERVICE

          I, Stephanie E. Babin, Esq. of the law firm of Demerle Hoeger LLP, hereby certify

that I have this 19th day of May, 2020 served on behalf of U.S. Bank Trust, NA, as

Trustee of the Igloo Series III Trust as services by BSI Financial Services, a Response to

Trustee’s Notice of Final Cure and this Certificate of Service by causing copies hereof to

be sent to all parties entitled to service per the Federal Rules of Bankruptcy Procedure

by electronic mail via the Case Management / Electronic Case Files (ECF) system and

by first-class U.S. mail (M) to all parties not appearing electronically.

 Beverly Ann Booze                              Francis E. Lamboley, Esq.
 41 Maple Street                                Lamboley Law Firm
 Hamden, CT 06517 (M)                           1 Evergreen Ave., Suite 20
                                                Hamden, CT 06518 (ECF)
 U.S. Trustee                                   Roberta Napolitano, Chapter 13 Trustee
 Office of the U.S. Trustee                     10 Columbus Boulevard
 Giaimo Federal Building                        6th Floor
 150 Court Street, Room 302                     Hartford, CT 06106 (ECF)
 New Haven, CT 06510 (ECF)

                                               /s/ Stephanie E. Babin, Esq.
                                               Stephanie E. Babin, Esq.
